
928 N.E.2d 198 (2010)
In the Matter of Gillian S. DePREZ, Respondent.
No. 49S00-1001-DI-30.
Supreme Court of Indiana.
May 20, 2010.

PUBLISHED ORDER APPROVING STATEMENT OF CIRCUMSTANCES AND CONDITIONAL AGREEMENT FOR DISCIPLINE
Pursuant to Indiana Admission and Discipline Rule 23(11), the Indiana Supreme Court Disciplinary Commission and Respondent have submitted for approval a "Statement of Circumstances and Conditional Agreement for Discipline" stipulating agreed facts and proposed discipline as summarized below:
Stipulated Facts: Based on an incident on July 11, 2009, Respondent pled guilty to reckless driving, a class B misdemeanor. A charge of operating a vehicle while intoxicated was dismissed. At the time of *199 the incident, Respondent was a deputy prosecutor for Marion County. She resigned from this position shortly after her arrest. Respondent sought alcohol evaluation and education, and no further treatment was recommended. Respondent has no disciplinary history.
Violation: The parties agree that Respondent violated Indiana Professional Conduct Rule 8.4(d), which prohibits engaging in conduct prejudicial to the administration of justice.
Discipline: The parties propose the appropriate discipline is a public reprimand. The Court, having considered the submissions of the parties, now approves the agreed discipline and imposes a public reprimand for Respondent's misconduct.
The costs of this proceeding are assessed against Respondent. With the acceptance of this agreement, the hearing officer appointed in this case is discharged.
The Clerk is directed to forward a copy of this Order to the hearing officer, to the parties or their respective attorneys, and to all other entities entitled to notice under Admission and Discipline Rule 23(3)(d). The Clerk is further directed to post this order to the Court's website, and Thomson Reuters is directed to publish a copy of this order in the bound volumes of this Court's decisions.
All Justices concur.
